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    N13J-00945, Sojitz Corporation vs Prithvi Information Solutions Limited
                                               DE Superior - New Castle
                                                     New Castle
                                     This case was retrieved on 12/29/2015




Header
Case Number: N13J-00945
Date Filed: 03/27/2013
Date Full Case Retrieved: 12/29/2015
Status: Open
Misc: (43) Judgment: Foreign Judgment; Civil




Summary
Judge: Judge New Castle *Judgment
Status: Active




Participants
 Litigants                                                  Attorneys
 Sojitz Corp                                                Stephen Brauerman
 Plaintiff                                                  Plaintiff
                                                            Fax : 3026586395
                                                            302-655-5000

                                                            Vanessa R Tiradentes
                                                            Plaintiff
                                                            Fax : 3026586395
                                                            302-655-5000
 Prithvi Information Solutions Ltd
 Defendant
 Agnew, Sharon SA
 Others
 Fax : 3022552264 Phone : 3022550700 Email :
 sharon.agnew@state.de.us
 DE Superior Court-New Castle County
 Others
 Judge New Castle *Judgment
 Primary Judge
 Fax : 3022552264 Phone : 3022550752
 Kent County, Sheriff                                       Sheriff Kent County
 Sheriff                                                    Sheriff
                                                            Fax : 3027362280
                                                            3027442360
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                      N13J-00945, Sojitz Corporation vs Prithvi Information Solutions Limited

Litigants                                                      Attorneys
New Castle County, Sheriff                                     Sheriff New Castle County
Sheriff                                                        Sheriff
                                                               Fax : 3023958460
                                                               302-395-8452
Pierce, Dot DAP
Others
Fax : 3022552268 Phone : 302-255-0767 Email :
Dorothy.Pierce@state.de.us




Proceedings

Date           #             Proceeding Text                                  Details
03/27/2013     1                                                              Filer Name:
                             Certified Judgment of the United States
                                                                              Tiradentes, Vanessa R; Sojitz Corp
                             District Court for the Western District of
                                                                              Number of Pages:
                             Pennsylvania
                                                                              2
                                                                              Doc Type:
                                                                              Lead Document
                                                                              Filing Id:
                                                                              51355837
03/27/2013     2                                                              Filer Name:
                             Affidavit of Vanessa R. Tiradentes, Esq. of
                                                                              Tiradentes, Vanessa R; Sojitz Corp
                             Filing and Mailing of Foreign Judgment
                                                                              Number of Pages:
                             Pursuant to 10 Del. C. s4783
                                                                              3
                                                                              Doc Type:
                                                                              Attachment
                                                                              Filing Id:
                                                                              51355837
04/01/2013     3                                                              Filer Name:
                             FOREIGN JUDGMENT LETTER(S) MAILED
                                                                              Wyatt, Dale DHW
                             OUT TO DEBTOR(S) ON 04-01-2013
                                                                              Number of Pages:
                                                                              2
                                                                              Doc Type:
                                                                              Lead Document
                                                                              Filing Id:
                                                                              51407516
04/04/2013     4                                                              Filer Name:
                             Writ of Attachment of Stock Pursuant to 8
                                                                              Brauerman, Stephen; Sojitz Corp
                             Del. C. s 324
                                                                              Number of Pages:
                                                                              1
                                                                              Doc Type:
                                                                              Lead Document
                                                                              Filing Id:
                                                                              51543893
04/04/2013     5                                                              Filer Name:
                             Praecipe for Writ of Attachment of Stock
                                                                              Brauerman, Stephen; Sojitz Corp
                             Pursuant to 8 Del. C. s 324
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05/06/2013     6                                                              Filer Name:
                             WRIT ISSUED SENT TO SHERIFF ON 5-7-
                                                                              Pierce, Dot DAP
                             13
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                         N13J-00945, Sojitz Corporation vs Prithvi Information Solutions Limited

 Date            #               Proceeding Text                            Details
                                                                            Number of Pages:
                                                                            3
                                                                            Doc Type:
                                                                            Lead Document
                                                                            Filing Id:
                                                                            52123905
 05/09/2013      7                                                          Filer Name:
                                 SHERIFF'S RETURN ON 5-9-2013
                                                                            Zeccola, Kathleen KAZ
                                                                            Number of Pages:
                                                                            1
                                                                            Doc Type:
                                                                            Lead Document
                                                                            Filing Id:
                                                                            52197305
 06/06/2013      8                                                          Filer Name:
                                 WRIT ISSUED AND CHECK SENT TO NCC
                                                                            Zeccola, Kathleen KAZ
                                 SHERIFF ON 6-7-2013
                                                                            Number of Pages:
                                                                            1
                                                                            Doc Type:
                                                                            Lead Document
                                                                            Filing Id:
                                                                            52645283
 07/01/2013      9                                                          Filer Name:
                                 RETURNED ON 7-1-13
                                                                            Pierce, Dot DAP
                                                                            Number of Pages:
                                                                            8
                                                                            Doc Type:
                                                                            Lead Document
                                                                            Filing Id:
                                                                            53072034


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                                        Transaction ID 52197305
                                        Case No. N13J-00945
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                                        Transaction ID 52645283
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